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                         Exhibit I)
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              IN THE SUPERIOR COURT OF LO\ryNDES
                          STATE OF GEORGIA
                                                                             -i l. ^ -" .' -       ',.,.1"'.'.r"
                                                                                f't .'.- - "         . .:,í:
KENNETH JOHNSON and JACQUELYN                                                .         1t L.j L_

JOHNSON,

        Plaintifß,

                                                 )
vs.                                                  CTVIL ACTION
                                                 )   FILE NO. 201s CV 706
BRANDON BELL, et al.,
                                                 I
        Defendants.
                                                 )




                       VOLUNTARY DISMISSAL \ryITHOUT PREJUDICE

         Plaintiffs hereby voluntarily dismiss the above styled action withcut prejudice.

                            This   ,,,'¡l* of fu**r*- )ñ1            Á,




                                                     THE C.B. KING LAV/ FIRM

                                                     BY
                                                                                 Jr.
                                                             Aftorney for Plaintiffs
                                                             State BarNo.: 420105




Prepared by:
Chevene B. King, Jr.
Post Office Drar'¿er 3468
Albany, GA 31706
(229)436-0s24
